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Attorney for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING

CUSTODIA BANK, INC.,                )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )     Civil Number: 22-cv-00125-SWS
                                    )
FEDERAL RESERVE BOARD OF            )
GOVERNORS and FEDERAL RESERVE )
BANK OF KANSAS CITY,                )
                                    )
      Defendants.                   )
______________________________________________________________________________

                         PLAINTIFF CUSTODIA BANK, INC.’S NOTICE OF APPEAL


         Plaintiff Custodia Bank, Inc. (“Custodia”), by and through its undersigned counsel,

respectfully submits its Notice of Appeal to the Tenth Circuit Court of Appeals as to this Court’s

Order on Dispositive Motions [DOC 317] and Judgment [DOC 318] entered herein on March 29,

2024 (attached hereto).

         DATED this 26th day of April, 2024.

                                               CUSTODIA BANK, INC., Plaintiff

                                        By:    /s/ Scott E. Ortiz_________________________
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                            -and-

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served this 26th
day of April, 2024, addressed to:

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                                           Page 3 of 3
